
Appeal by defendant from a judgment of the Supreme Court, Kings County, rendered July 12, 1974, convicting him of criminal possession of a dangerous drug in the first degree, upon a jury verdict, and imposing sentence. The appeal brings up for review the sufficiency of two orders of the same court, one dated June 15, 1973, which authorized eavesdropping, and the second, dated July 12, 1973, which extended the authorization. Case remitted to Criminal Term to hear and report on the extent of compliance herein with the provisions of CPL 700.50 (subd 2), and appeal held in abeyance in the interim. Cohalan, Acting P. J., Margett, Damiani, Rabin and Titone, JJ., concur.
